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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   DONNELL COX,

11                  Plaintiff,                      No. CIV S-07-0885 GEB EFB P

12          vs.

13   SACRAMENTO COUNTY POLICE
     DEPARTMENT, et al.,
14                                                  FINDINGS & RECOMMENDATIONS
                    Defendants.
15                                         /

16          Plaintiff is a prisoner without counsel seeking relief for alleged civil rights violations.

17   See 42 U.S.C. § 1983. He filed his complaint on May 10, 2007. On August 27, 2007, the court

18   found that the complaint stated a cognizable claim as to defendants Shirashi and Lannom but not

19   as to any other defendant. The court gave plaintiff 30 days to submit materials for service of

20   process on defendants Shirashi and Lannom or, alternatively, 30 days to file a first-amended

21   complaint.

22          The times for acting have passed and plaintiff has not submitted the materials necessary

23   to serve process on defendants Shirashi and Lannom. Nor has plaintiff filed an amended

24   complaint or otherwise responded to the August 27, 2007, order.1

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               Although it appears from the file that plaintiff’s copy of the order was returned,
26   plaintiff was properly served. It is the plaintiff’s responsibility to keep the court apprised of his

                                                       1
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 1          Accordingly, it is hereby RECOMMENDED that this action be dismissed without

 2   prejudice. See Fed. R. Civ. P. 41(b).

 3          These findings and recommendations are submitted to the United States District Judge

 4   assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within twenty days

 5   after being served with these findings and recommendations, any party may file written

 6   objections with the court and serve a copy on all parties. Such a document should be captioned

 7   “Objections to Magistrate Judge’s Findings and Recommendations.” Failure to file objections

 8   within the specified time may waive the right to appeal the District Court’s order. Turner v.

 9   Duncan, 158 F.3d 449, 455 (9th Cir. 1998); Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

10   DATED: October 12, 2007.

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     current address at all times. Pursuant to Local Rule 83-182(f), service of documents at the
26   record address of the party is fully effective.

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